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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 AUTHORS GUILD, et al.,
        Plaintiffs,
                                              Consolidated:
            v.                                Case No. 1:23-cv-08292-SHS;
 OPENAI INC., et al.,                         Case No. 1:23-cv-10211-SHS

             Defendants.                      CLASS PLAINTIFFS’ RESPONSE
                                              TO MICROSOFT’S OBJECTION
                                              TO DISCOVERY ORDER DKT. 289
                                              PURSUANT TO FEDERAL RULE
                                              OF CIVIL PROCEDURE 72(a)


 THE NEW YORK TIMES COMPANY,                  Consolidated:
        Plaintiffs,                           Case No. 1:23-cv-11195-SHS-OTW
                                              Case No. 1:24-cv-03285-SHS-OTW
            v.
                                              Case No. 1:24-cv-04872-SHS-OTW
 MICROSOFT CORPORATION, et al.,

             Defendants.




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                                           INTRODUCTION

         Microsoft seeks to set aside Judge Wang’s Order (Dkt. 289) (the “AG Order”) refusing to

compel production of documents relating to (a) Plaintiffs’ 1 own use, if any, of ChatGPT, and (b)

documents regarding the valuation of and markets for the works asserted in this litigation (Dkt.

263). See Dkt. 299. The AG Order referenced an earlier-entered order issued in the related New

York Times case, Case No. 1:23-cv-11195 (the “NYT Case”), likewise holding that documents

relating to Plaintiffs’ use of Generative AI tools are not relevant to Defendants’ fair use defense,

and otherwise explicating certain contours of discovery related to the fair use defense. See NYT

Dkt. 344 at 1 (“344 Order”). 2

         Microsoft argues that the underlying 344 Order is contrary to law, and that the AG Order

therefore should be set aside. Yet, the 344 2UGHUis well reasoned for all the reasons set forth in

the concurrently-filed responses to Microsoft’s and OpenAI’s Rule 72(a) Objections in the NYT

Case: this case is not about Plaintiffs’ use of generative AI, if any. See Oppositions to NYT

Dkt. 363, 369, and 373. Microsoft also claims that the AG Order failed to address Microsoft’s

market- and valuation-related document requests. See Dkt. 299. Not so. As Plaintiffs had

demonstrated in the underlying briefing, and as Microsoft explicitly acknowledged, any ripe

dispute was resolved prior to the date of the AG Order with respect to all Author Plaintiffs. See

Ex. 1 at 1. This is dispositive of Microsoft’s objections.



1
  “Plaintiffs” refers to Class Plaintiffs in the Authors Guild and Alter cases, including the Authors Guild
and other individually named authors (the “Author Plaintiffs”). Plaintiffs have filed a pending motion for
voluntary dismissal of Maya Shanbhag Lang, one of the Author Plaintiffs (Dkt. 173, July 4, 2024).
2
  Microsoft’s Objection (Dkt. 299) was also filed in the NYT Case and seeks to set aside several other
orders entered in that case that reference the 344 Order (NYT Dkt. 351, 354, 355), as well as the 344
Order “insofar as necessitated by the arguments set forth [in the Objection].” See NYT Dkt. 369 at 25.
OpenAI also filed a Rule 72 Objection to the 344 Order. See NYT Dkt. 363. The instant brief only
specifically responds to Microsoft’s Objection (Dkt. 299) to the extent it pertains to the AG Order. As to
the merits of the 344 Order, this Brief is supplemental to and incorporates the reasons set forth in the
concurrently filed responses to Microsoft’s and OpenAI’s Rule 72(a) Objections in the NYT Case.


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                      FACTUAL AND PROCEDURAL BACKGROUND

         Microsoft sought to compel Plaintiffs (both the Authors Guild and the Author Plaintiffs)

to produce two categories of documents based on their purported relevance to the first and/or

fourth fair use factors, as well as the defense of substantial non-infringing uses:(1) Documents

“reflecting [Plaintiffs’] own usage of ChatGPT,” 3 Dkt. 263 at 1 (an issue addressed in the

concurrently-filed NYT opposition briefs); and (2) Documents regarding the valuation of the

works-in-suit and the markets, including derivative markets. Id. at 2-3.

         As to the first group of documents, Plaintiffs agreed to produce documents related to

ChatGPT, namely “all non-privileged documents in our client’s emails that contain the term

OpenAI or ChatGPT. Plaintiffs have also produced all ChatGPT outputs cited in the Complaint.”

Dkt. 274 at 1. However, as Plaintiffs explained in their response, “[c]ompelling Plaintiffs to

produce all prompts, even those “entirely unrelated to this litigation or the works-in-suit (e.g.,

asking ChatGPT about the weather) would not be proportional to the needs of the case.” Id.

         Regarding the second group of documents (relating to valuation and markets), Microsoft

sought to compel different sets of documents from the Authors Guild and the Author Plaintiffs.

Id. at 1-2. The parties reached agreement on the dispute as to the Author Plaintiffs, thereby

mooting that part of the letter-motion shortly after the motion was filed. See Ex. 1 at 1

(December 2, 2024, email from Microsoft’s counsel: “We can confirm that this agreement

resolves this issue in Microsoft’s motion”). Microsoft has not rescinded that agreement, and

Plaintiffs have been collecting documents in accordance with that agreement.




3
 Specifically, Microsoft sought to compel documents showing “all non-privileged prompt attempts.” Id.
at 2.


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          Regarding the Authors Guild, Microsoft initially complained that the Authors Guild had

only agreed to produce documents for Mignon Eberhart. 4 However, as Plaintiffs’ response to the

letter-motion explained in detail, Microsoft had only served document requests pertaining to

works of Mignon Eberhart. See Dkt. 274 at 2. Microsoft did not serve requests seeking broader

discovery until November 20, 2024, after filing the letter-motion. Id.; see also Dkt. 288 at 3

(Plaintiffs’ position: “[T]he Authors Guild in fact has produced documents related to its

“Copyrighted Works” as that term was defined by Microsoft itself in the requests it cited, that is,

relating to Mignon Eberhart …”). The Authors Guild served its responses to that new (and

objectionable for other reasons) set of requests on December 20 – well after the AG Order was

issued.

          On December 3, 2024, Judge Wang entered the AG Order, denying the letter-motion for

the reasons identified in the 344 Order. See Dkt. 289. The 344 Order generally addresses the

scope of relevant discovery under the fair use factors, with a particular focus on the fourth factor.

Id. at 2 et seq. The Order emphasized that “[e]ach of the[] [fair use] factors requires scrutiny of a

defendant’s purported use of the copyrighted work(s), and whether that defendant’s use may

constitute ‘fair use’ under the Act.” Id. at 2 (emphasis in original). Judge Wang ruled that

OpenAI’s document requests relating to the New York Times’s use of and position regarding

Generative AI tools were irrelevant to OpenAI’s fair use defense. Id. at 1. The ruling fully

addressed the issues of Plaintiffs’ use, if any, of ChatGPT (which is the only actual dispute at

issue now). To be clear, on December 3 (the date of the AG order), there were no pending

disputes on the market and valuation requests, and there was thus noting for Judge Wang to




4
 The works of Mignon Eberhart are the only copyrighted works at issue in this case that are owned by the
Authors Guild.


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“ignore.” Microsoft has misstated or ignored all the relevant background in mischaracterizing

Judge Wang’s orders.

                                              ARGUMENT

         “In evaluating a magistrate judge's findings regarding non-dispositive issues such as pre-

trial disputes, a district court may modify or set aside a determination only if it is found to be

‘clearly erroneous or contrary to law.’” A finding is “clearly erroneous” if the reviewing court is

“left with the definite and firm conviction that a mistake has been committed.” R.F.M.A.S., Inc.

v. So, 748 F. Supp. 2d 244, 248 (S.D.N.Y. 2010). “A magistrate judge's determinations on

discovery matters are entitled to substantial deference.” Id. “The party seeking to overturn a

magistrate judge's decision thus carries a heavy burden.” Id. (emphasis added).

         Microsoft’s arguments fall well short of this heavy burden.

         I.        THE 344 ORDER IS NOT CONTRARY TO LAW

         The issue of Plaintiffs’ own use of ChatGPT (if any) was raised and resolved in the 344

Order (as Judge Wang recognized in referencing the 344 Order in the AG Order). For the reasons

stated in the concurrently-filed oppositions to Microsoft’s and OpenAI’s Objections in the NYT

Case (NYT Dkt. 363, 369, and 373), which Plaintiffs incorporate herein, the 344 Order is not

contrary to law and should be upheld. See Oppositions to NYT Dkt. 363, 369, and 373.

         II.       JUDGE WANG DID NOT ERR IN NOT CREDITING MICROSOFT尋S
                     ARGUMENT RELATING TO ITS NON-INFRINGING USES DEFENSE

             To the extent Microsoft argues that the AG Order failV to address Microsoft’s substantial

non-infringing uses defense, see Dkt. 299 at 24, Microsoft ignores Plaintiffs’ valid objection that

Microsoft’s request seeks irrelevant and disproportionate information. See supra, Dkt. 274 at 1.

Plaintiffs’ allegations of contributory infringement are focused on Microsoft’s contributions to

OpenAI’s large-scale infringement—that is, OpenAI’s reproductions of copyrighted works in the



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acquisition of training material and the use of that material to train its LLMs. Neither Microsoft’s

original letter-motion nor its Objection cite pertinent legal authority to support its request to

compel documents beyond those Plaintiffs already agreed to produce.

         Microsoft’s reliance on Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417,

442 (1984), see Dkt. 299 at 24, is misplaced. Sony addressed when a defendant can be

contributorily liable for the infringing acts of end-users when the theory of contributory liability

is “predicated entirely on the sale of an article of commerce that is used” by an end-user to

infringe. Sony, 464 U.S. at 440. There, copyright owners sought to hold Sony liable for the

infringing acts of consumers, who used the Sony Betamax to make illegal reproductions of

copyrighted works. The substantial non-infringing uses of the Betamax technology were relevant

because the sole theory of liability in that case was that Sony had placed the Betamax into the

stream of commerce knowing that some consumers would use it to infringe.

         But this case doesn’t involve any similar stream-of-commerce theory. Plaintiffs do not

seek to hold Microsoft liable for the infringing acts of end users of ChatGPT. Instead, Plaintiffs

allege that Microsoft is liable for the acts of OpenAI—namely, that Microsoft knowingly helped

OpenAI commit mass copyright infringement in training its LLMs. Whether or not there are

substantial non-fringing uses of ChatGPT is therefore entirely irrelevant to this case, and thus

Plaintiffs’ own use of ChatGPT is equally irrelevant.

         Nor does Viacom Int’l Inc. v. Youtube Inc., 253 F.R.D. 256, 261-62 (S.D.N.Y. 2008)

move the needle for largely the same reasons. In that case, copyright owners sought to hold

YouTube and Google liable for the infringing uploads of end users. Again, the acts of the end

users of YouTube were relevant in that case because the theory of infringement was based on the

infringing acts of end users, unlike here.




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         III.   THE AG ORDER DID NOT FAIL TO CONSIDER MICROSOFT尋S
                MARKET AND VALUATION RELATED DOCUMENT REQUESTS

         Microsoft’s claim that the AG Order failed to consider Microsoft’s market and valuation-

related discovery requests misstates the record. As stated above, the dispute raised in Microsoft’s

letter-motion concerning those requests was either not ripe when Microsoft filed the letter-

motion (as to the Authors Guild) or was mooted shortly after the filing of the letter-motion (as to

the Author Plaintiffs). See supra. Microsoft did not renew the motion after serving the new (and

broader) set of document requests to the Authors Guild on November 20, 2024—and in fact

could not have renewed the same motion in the literal sense, given the requests were distinct. See

supra. Plaintiffs’ responses to the new requests, which raise a number of objections, are not in

dispute now, and were certainly not in dispute at the time the AG Order was issued. Microsoft

fails to acknowledge any of this in its Objection. See supra.

         Finally, the 344 Order informs the scope of relevant discovery under the fourth fair use

factor and, thus, will be instructive should disputes involving market- and valuation-related

discovery requests become ripe in the future. Indeed, the 344 Order instructs that “[d]iscovery

regarding the loss to the copyright owner would consist of documents concerning licensing

discussions, which the Times has already agreed to produce, . . . and discovery from Defendant

on how its use might ‘kill demand for the original.’” 344 Order at 4. It further held that,

“discovery concerning the ‘public benefits [from] the copying’ would be directed to the

Defendant and the public benefits of its copying, not whether nonparties’ Gen AI tools (which

presumably were developed without copying) serve a general public benefit.” Id. These

statements belie Microsoft’s assertion that Microsoft’s requests relating to markets and valuation

are not “even squarely addressed in ECF 344.” Dkt. 299 at 11.




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                                         CONCLUSION

         For the reasons set forth above, Microsoft’s Objection should be denied.



 Dated: January 17, 2025                           /s/ Rachel Geman
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                                PROOF OF SERVICE VIA ECF

         On January 17, 2025, I caused to be served the foregoing document on all counsel of

record via ECF:

CLASS PLAINTIFFS’ RESPONSE TO MICROSOFT’S OBJECTIONS TO DISCOVERY
 ORDER DKT 289 PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 72(a)

                                                 /s/ Rachel Geman
                                                 Rachel Geman




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